 1                                                                 The Honorable Jamal N. Whitehead
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 7                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8
                                         AT SEATTLE
 9

10   THE DUWAMISH TRIBE and CECILE
     HANSEN,                                              Case No. 22-cv-00633-JNW
11
                                         Plaintiffs,      STIPULATED MOTION FOR
12                                                        EXTENSION AND ORDER
            v.
13                                                        NOTED ON MOTION CALENDAR:
     DEB HAALAND, BRYAN NEWLAND, US                       April 21, 2023
14   DEPARTMENT OF THE INTERIOR,
     BUREAU OF INDIAN AFFAIRS, OFFICE
15
     OF FEDERAL ACKNOWLEDGEMENT, and
16   UNITED STATES OF AMERICA,

17                                     Defendants.

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19                                            STIPULATED MOTION
20
            In accordance with the Court’s Order Granting in Part Plaintiffs’ Motion to Complete the
21
     Administrative Record, Dkt. # 38 at 7, and pursuant to Local Civil Rules 7(j), 10(g), and 16(b)(6),
22
     Plaintiffs and Federal Defendants (collectively, the “Parties”) respectfully request an extension of
23

24   the current case schedule (Dkt. # 51).

25          On April 7, 2023, Plaintiffs notified Federal Defendants of potential deficiencies regarding

26   the Administrative Record, namely potential deficiencies in the privilege log provided by
     STIPULATED MOTION FOR EXTENSION AND
     ORDER - 1
     CASE NO. 22-CV-00633-JNW
 1   Defendants, in accordance with the operative deadline. See Dkt. # 51 at 2. Plaintiffs also proposed
 2   a brief extension of the current case schedule to provide Federal Defendants sufficient time to
 3
     update and complete the privilege log. By April 12, Federal Defendants had provided the updated
 4
     privilege logs. To provide Plaintiffs with sufficient time to review and address those updated
 5
     privilege logs, the Parties stipulated to brief extensions of the current case schedule, including an
 6

 7   extension of the deadlines for Plaintiffs to make specific objections regarding the Administrative

 8   Record (to April 19, 2023) and for Defendants to respond to that deadline (to May 3, 2023). For

 9   these reasons, good cause exists to extend the deadlines pursuant to Local Civil Rule 16(b)(6).
10          The Parties respectfully request to extend the current case schedule, as follows:
11
                                          Current Deadline             Proposed Deadline
12           Plaintiffs shall notify   April 7, 2023                 April 7 & 19, 2023
             Defendants of any
13           potential deficiencies
             regarding the
14
             Administrative
15           Record
             Defendants shall          April 14, 2023                May 3, 2023
16           respond to Plaintiffs’
             notice
17           Parties shall meet and    April 21, 2023                May 5, 2023
18           confer regarding
             Administrative
19           Record
             Deadline for              n/a                           May 10, 2023
20           Defendants to provide
             final response
21           regarding potential
22           Administrative
             Record deficiencies
23           Deadline for Plaintiffs   May 4, 2023                   May 17, 2023
             to move for relief
24           regarding the
             Administrative
25
             Record (LCR 7(d)(3)
26           shall govern the
     STIPULATED MOTION FOR EXTENSION AND
     ORDER - 2
     CASE NO. 22-CV-00633-JNW
 1           motion briefing
             schedule)
 2

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 4
            Considering the foregoing, the Parties respectfully move the Court to extend the case
 5
     schedule. Pursuant to Local Civil Rule 10(g), at the close hereof is a proposed order granting this
 6
     stipulated motion.
 7

 8          DATED this 21st day of April, 2023.

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11                                                     Respectfully Submitted,

12
                                                       K&L GATES LLP
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14
                                                       By:     s/ Bart J. Freedman
15
                                                               Bart J. Freedman, WSBA # 14187
16                                                             Theodore J. Angelis, WSBA # 30300
                                                               J. Timothy Hobbs, WSBA # 42665
17                                                             Benjamin A. Mayer, WSBA # 45700
                                                               Endre M. Szalay, WSBA # 53898
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                                                               Shelby R. Stoner, WSBA # 52837
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     STIPULATED MOTION FOR EXTENSION AND
     ORDER - 3
     CASE NO. 22-CV-00633-JNW
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                                           Attorneys for Plaintiffs
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                                           TODD KIM
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 8                                         Assistant Attorney General
                                           Environment & Natural Resources Division
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                                           By: /s Devon L. McCune
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21                                         Attorneys for Defendants
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26
     STIPULATED MOTION FOR EXTENSION AND
     ORDER - 4
     CASE NO. 22-CV-00633-JNW
 1                                                     ORDER
 2
            Upon consideration of the Parties’ Stipulated Motion for Extension, the Court finds that
 3
     good cause exists to extend certain deadlines in the current case schedule (Dkt. # 51), and it is
 4
     hereby ORDERED that the Motion is GRANTED nunc pro tunc.
 5
            It is FURTHER ORDERED that the current case schedule will be modified as follows:
 6
             Plaintiffs shall notify   April 7, 2023                  April 7 & 19, 2023
 7
             Defendants of any
 8           potential deficiencies
             regarding the
 9           Administrative
             Record
10           Defendants shall          April 14, 2023                 May 3, 2023
11           respond to Plaintiffs’
             notice
12           Parties shall meet and    April 21, 2023                 May 5, 2023
             confer regarding
13           Administrative
             Record
14           Deadline for              n/a                            May 10, 2023
15           Defendants to provide
             final response
16           regarding potential
             Administrative
17           Record deficiencies
             Deadline for Plaintiffs   May 4, 2023                    May 17, 2023
18
             to move for relief
19           regarding the
             Administrative
20           Record (LCR 7(d)(3)
             shall govern the
21           motion briefing
             schedule)
22

23          IT IS SO ORDERED.
24

25          DATED this 5th day of May, 2023.
26
     STIPULATED MOTION FOR EXTENSION AND
     ORDER - 5
     CASE NO. 22-CV-00633-JNW
 1

 2                                             A
                                               Jamal N. Whitehead
 3                                             United States District Judge
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 5
     PRESENTED BY:
 6

 7   K&L GATES LLP

 8

 9   By:    s/ Bart J. Freedman
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22   Attorneys for Plaintiffs
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     STIPULATED MOTION FOR EXTENSION AND
     ORDER - 6
     CASE NO. 22-CV-00633-JNW
